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                                                                                              E-FILED
                                                                Friday, 17 December, 2010 09:46:14 AM
                                                                           Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                              SPRINGFIELD DIVISION

MARCIA RYAN,                                     )
                                                 )
                      Plaintiff,                 )
                                                 )
       v.                                        )
                                                 )
ENHANCED RECOVERY                                )
COMPANY, LLC,                                    )
                                                 )
                      Defendant.                 )

                                          COMPLAINT

       NOW COMES the Plaintiff, MARCIA RYAN, by and through her attorneys, LARRY P.

SMITH & ASSOCIATES, LTD., and for her complaint against the Defendant, ENHANCED

RECOVERY COMPANY, LLC, Plaintiff states as follows:

                               I.        PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et seq.

                                   II.    JURISDICTION & VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., and pursuant to 28

U.S.C. §1331 and 28 U.S.C. §1337.

       3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                          III.       PARTIES

       4.      MARCIA RYAN, (hereinafter, “Plaintiff”) is an individual who was at all

relevant times residing in the City of Springfield, County of Sangamon, State of Illinois.

       5.      The debt that Plaintiff allegedly owed was for a credit card, on which charges

were incurred primarily for the personal use of Plaintiff and/or for household expenditure.

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           6.    At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1692a(3).

           7.    ENHANCED RECOVERY COMPANY, LLC, (hereinafter, “Defendant”) is a

business entity engaged in the collection of debt within the State of Illinois. Defendant is

registered as a limited liability company in the State of Florida.

           8.    The principal purpose of Defendant’s business is the collection of debts allegedly

owed to third parties.

           9.    Defendant regularly collects, or attempts to collect, debts allegedly owed to third

parties.

           10.   During the course of its efforts to collect debts allegedly owed to third parties,

Defendant sends to alleged debtors bills, statements, and/or other correspondence via the mail

and/or electronic mail and initiates contact with alleged debtors via various means of

telecommunication, such as the telephone and facsimile.

           11.   At all relevant times, Defendant acted as a debt collector as that term is defined by

15 U.S.C. §1692a(6).

           12.   At all relevant times, Defendant acted through its duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.

                                        IV.    ALLEGATIONS

           13.   Upon information and belief, in or around July 2010 through October 2010,

Defendant was cognizant of Plaintiff’s telephone number.

           14.   Upon information and belief, in or around July 2010 through October 2010,

Defendant was cognizant of Plaintiff’s address.



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       15.     Upon information and belief, despite being fully cognizant of Plaintiff’s location,

from in or around July 2010 through October 2010, and on multiple occasions therein, Defendant

initiated telephone calls to Plaintiff’s daughter-in-law’s residence.

       16.     Defendant initiated the aforementioned telephone calls in an attempt to collect a

debt allegedly owed by Plaintiff.

       17.     During the course of the aforementioned time period, and on multiple occasions

therein, Defendant informed Plaintiff’s daughter that Defendant required to speak with Plaintiff.

       18.     During the aforesaid time period, and on multiple occasions therein, Plaintiff’s

daughter-in-law informed Defendant that it had contacted the wrong telephone number.

       19.     During the course of the aforementioned telephone calls, and on multiple

occasions therein, Plaintiff’s daughter-in-law informed Defendant that Plaintiff did not reside

with her.

       20.     During the course of the aforementioned telephone calls, and on multiple

occasions therein, Defendant asked Plaintiff’s daughter-in-law for Plaintiffs telephone number

and location information.

       21.     During the course of the aforementioned telephone calls, and on multiple

occasions therein, Plaintiff’s daughter-in-law informed Defendant that she could not provide

Defendant with contact information for Plaintiff.

       22.     Defendant did not reasonably believe that location information provided by

Plaintiff’s daughter-in-law was incomplete or erroneous or that Plaintiff’s daughter-in-law had

more complete information as to Plaintiff’s location.




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        23.     During the aforesaid time period, and on multiple occasions therein, Plaintiff’s

daughter-in-law informed Defendant that she wished that Defendant stop calling her residence in

an attempt to contact Plaintiff.

        24.     Notwithstanding Plaintiff’s daughter-in-law’s statements to Defendant, in or

around July 2010 through October 2010, and on multiple occasions therein, Defendant continued

to initiate multiple telephone calls to Plaintiff’s daughter-in-law’s residence in a further attempt

to contact Plaintiff.

          25.   In its attempts to collect the debt allegedly owed by Plaintiff, Defendant violated

the FDCPA, 15 U.S.C. §1692, in one or more of the following ways:

                a. Communicated with any such person more than once unless requested to do so
                   by such person or unless the debt collector reasonably believes that the earlier
                   response of such person is erroneous or incomplete and that such person now
                   has correct or complete location information in violation of 15 U.S.C.
                   §1692b(3);

                a. Communicated in connection with the collection of any debt with any person
                   other than the consumer, his attorney, a consumer reporting agency if
                   otherwise permitted by law, the creditor, the attorney of the creditor, or the
                   attorney of the debt collector in violation of 15 U.S.C. §1692c(b);

                b. Used unfair and/or unconscionable means to collect or attempt to collect a
                   debt in violation of 15 U.S.C. §1692f; and,

                c. Was otherwise deceptive and failed to comply with the provisions of the
                   FDCPA.

        26.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

                                       V.      JURY DEMAND

        27.     Plaintiff hereby demands a trial by jury on all issues so triable.




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                                  VI.     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, MARCIA RYAN, by and through her attorneys, respectfully

prays for judgment as follows:

              a.      All actual compensatory damages suffered;

              b.      Statutory damages of $1,000.00;

              c.      Plaintiff’s attorneys’ fees and costs;

              d.      Any other relief deemed appropriate by this Honorable Court.

                                                               Respectfully submitted,
                                                               MARCIA RYAN

                                                       By:      s/ David M. Marco
                                                                Attorney for Plaintiff
   Dated: December 16, 2010

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